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Attorneys for Plaintiff
 Johnson & Johnson Health Care Systems Inc.

                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY

 JOHNSON & JOHNSON                       :
 HEALTH CARE SYSTEMS INC.,                   Civil Action No. 22-2632(JKS)(CLW)
                                         :
                   Plaintiff,                Hon. Jamel K. Semper, U.S.D.J.
                                         :   Hon. Cathy L. Waldor, U.S.M.J.
             vs.
                                         :
 SAVE ON SP, LLC,                            NOTICE OF MOTION
 EXPRESS SCRIPTS, INC., and              :   FOR LEAVE TO SUPPLEMENT
 ACCREDO HEALTH GROUP, INC.                  THE AMENDED COMPLAINT
                                         :
                   Defendants.

COUNSEL:

            PLEASE TAKE NOTICE that on November 4, 2024 at 9:00 A.M. in

the forenoon, or as soon thereafter as counsel may be heard, the undersigned
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attorneys for Plaintiff Johnson & Johnson Health Care Systems Inc. (“JJHCS”) shall

apply before the Honorable Jamel K. Semper at the United States District Court for

the District of New Jersey, Frank R. Lautenberg Post Office & Courthouse, 2 Federal

Square, Newark, New Jersey 07101 for an Order, pursuant to Fed. R. Civ. P. 15(d),

granting JJHCS leave to Supplement the Complaint, in the form submitted.

               PLEASE TAKE FURTHER NOTICE that in support of this motion,

JJHCS shall rely upon the accompanying Memorandum of Law and Declaration of

Adeel A. Mangi. A proposed form of Order is also attached.

               PLEASE TAKE FURTHER NOTICE that pursuant to L. Civ. R. 15.1,

JJHCS is herein submitting a Proposed Supplemented Amended Complaint (Exhibit

A) along with a redline showing changes from JJHCS’s Amended Complaint

(Exhibit B). JJHCS is filing the Memorandum of Law, the Proposed Supplemented

Amended Complaint, and redline under seal contemporaneously with the filing of

this Notice.

                                      Respectfully submitted,

                                      SILLS CUMMIS & GROSS P.C.
                                      One Riverfront Plaza
                                      Newark, New Jersey 07102
                                      (973) 643-7000

                                      By:   s/ Jeffrey J. Greenbaum
                                            JEFFREY J. GREENBAUM
                                            KATHERINE M. LIEB
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                                  Attorneys for Plaintiff Johnson & Johnson
                                  Health Care Systems Inc.

Dated: October 7, 2024
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     Exhibit A to Notice of Motion for Leave to Supplement
                    the Amended Complaint

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     Exhibit B to Notice of Motion for Leave to Supplement
                    the Amended Complaint

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